

People v Turane (2021 NY Slip Op 07071)





People v Turane


2021 NY Slip Op 07071


Decided on December 16, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 16, 2021

Before: Kapnick, J.P., Friedman, González, Rodriguez, Pitt, JJ. 


Ind No. 1177/14 Appeal No. 14879 Case No. 2018-90 

[*1]The People of the State of New York, Respondent,
vRalph Turane, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Will A. Page of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Michael D. Trabutton of counsel), for respondent.



Judgment, Supreme Court, New York County (Gregory Carro, J. at first plea; Patricia M. NuÑez, J. at second plea and sentencing), rendered October 27, 2016, convicting defendant, upon his plea of guilty, of two counts of criminal sale of a controlled substance in the third degree, and sentencing him, as a second felony drug offender to consecutive terms of two years, unanimously modified, on the law, to the extent of vacating defendant's conviction under the second count of the indictment and dismissing that count, and otherwise affirmed.
As the People concede, defendant's first plea, to one count of third-degree sale of a controlled substance, was in full satisfaction of the entire indictment, so that defendant's later plea to a second count of that indictment was not permissible (see People v Romer , 31 NY2d 919 [1972]). When the second plea court sought to add a plea to an additional count as part of a renegotiated disposition conditioned on drug treatment, it could only have done so by "reinstatement. . . [of the indictment] which could have been accomplished by permitting the defendant to withdraw his original plea of guilty to [the first count]" (id . at 920).
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 16, 2021








